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STATE OF WEST VIRGINIA

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June 23, 2022

Stephen Paul New, Esquire:
PO Box 5516
Beckley, WV 25801

Re: Complaint of Sue N. Porter
LD. No. 21-06-0135

Dear Mr. New:

Enclosed please find a copy of the Investigative Panel Findings and Conclusions
with respect to the above-referenced complaint filed against you. This matter has been
investigated by this office and was reviewed by the Investigative Panel of the Lawyer
Disciplinary Board at its June 11, 2022 meeting.

The Investigative Panel found that probable cause does exist, but that formal
discipline is not appropriate under the circumstances. The Panel voted to admonish you
as a result of this complaint. ,

Under the Rules of Lawyer Disciplinary Procedure, you have fourteen days after
receiving a copy of this closing in which to file any objections. Upon the filing of an
objection, a Statement of Charges will be issued and this matter will be set for a hearing
before the Hearing Panel of the Lawyer Disciplinary Board.

Rachaél L. Fletcher Cipoletti
Chief Lawyer Disciplinary Counsel

RLFC/be

Enclosure .
cc: SueN. Porter (w/enc.)

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LAWYER DISCIPLINARY BOARD
INVESTIGATIVE PANEL CLOSING

LD. No.: 21-06-015 Date Complaint Received: January 11, 2021

COMPLAINANT:  SueN. Porter
75 Sedgewood Manor
Bluefield, Virginia 24605

RESPONDENT: Stephen Paul New, Esquire Bar No.: 7756
PO Box 5516
Beckley, West Virginia 25801

THE INVESTIGATION OF THIS MATTER having been completed and a
report having been made to the Investigative Panel of the Lawyer Disciplinary Board, the
Panel orders that Respondent be admonished for his conduct and that this complaint be
closed for the following reasons:

STATEMENT OF FACTS

Complainant Sue N. Porter filed this complaint against Respondent Stephen Paul
New, a licensed member of the West Virginia State Bar.

Complainant stated she retained Respondent regarding her late mother’s estate on
or about February 11, 2019. Complainant stated Respondent advised her the matter would
cost between $500.00 and $1,500.00. Complainant asserted that there was no written fee
agreement to memorialize the fee discussed in the initial meeting.

Complainant stated Respondent filed “Motion for Injunctive Relief.” On or about
September 9, 2020, a status hearing was held. Complainant stated Respondent’s

associate, Mr. Queen, appeared at this hearing and advised the court that an attorney’s
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lien had been filed in the case. Complainant advised the court and Mr. Queen that she had
never received an invoice in the matter and was not aware of the lien filed. The court
requested that the clerk provide complainant with a copy of Respondent’s filings in the
case. However, Complainant stated, the lien was filed with the court under seal and she
did not receive a copy with the other pleadings filed. At another hearing, on or about
December 10, 2020, Complainant again advised she had not received Respondent’s
invoice. At that time, Mr. Queen produced an invoice to Complainant. Complainant
stated the lien was for $9,525.88, far exceeding the quoted fee from Respondent.
Complainant stated she then advised the court that she had never signed a retainer
agreement and was unaware of the “exorbitant fees” charged by Respondent.

Mr. Queen advised Complainant that the invoices had been previously mailed to
her. However, Complainant asserted she never received the same. Complainant said it
was then discovered that the documents had been mailed to an address of which she
never lived.

Complainant further stated she noted “many discrepancies” in the itemized
invoice. Complainant stated Respondent billed three to four hours for each hearing, but

- Complainant asserted that no hearing lasted more than one hour. Complainant further
noted that the invoice indicated that their initial meeting took place on or about April 5,
2019. Complainant noted that their initial meeting was months before, in February.

Complainant further stated Respondent did not pursue the return of cash stolen
from her mother’s home following her death. Complainant stated she filed a police report
regarding the matter and Respondent advised that the alleged perpetrator in the theft was

a friend. Complainant believed that this relationship kept her from recouping these funds.

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Complainant further asserted that Respondent’s communication with her as
inadequate. She stated that she was not advised of hearings and messages were not
returned by Respondent’s staff. Complainant terminated Respondent’s services on or
about August 12, 2020. Complainant finally stated that Respondent’s representation of
her caused her to settle her case at a disadvantage.

Respondent filed a timely response and stated that he explained his fee structure to
Complainant verbally “on multiple occasions.” Respondent stated he explained he could
not represent her on a contingency basis and that he would be required to bill her by his
hourly rate. Respondent further stated that Complainant pay a retainer fee for him to bill
against in the case. However, Respondent said that after that request, Complainant stated
that her expectation was that they would “settle up at the end.” Respondent further stated
that Complainant further memorialized this in an email wherein she directed Respondent
to “do what [Respondent] can to get enough money to pay for [Respondent’s} expenses in
this case.”

Respondent maintained that he “clearly and unequivocally” communicated to
Complainant the fee structure, but admitted that he made a mistake in not having a
written fee agreement. However, Respondent argued that while a written agreement was

preferable, that the same was not mandated by Rule 1.5(b) of the Rules of Professional

Conduct. He further argued that pursuant to case law, specifically Truckett v. Laurita,

223 W.Va. 357, 674 S.E.2d 218 (2009), he was permitted to file a lien in the case, and

that the court held that the basis of lien is a contract, whether “oral or written.”
With regard to the allegation that Respondent’s office did not mail documents to

Complainant’s correct address, he stated that Complainant did not keep his office updated

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of her address, and that the same had changed on occasion. Respondent further stated that
with regard to the alleged stolen cash from Complainant’s mother’s home, he was unable
to effectively establish that the funds either existed or were stolen and without such
evidence, he was unable to purse the same.

In reference to the discrepancies in the billing record, Respondent intimated that
the multiple hour billings for hearings included travel from his office in Beckley, West
Virginia, to Welch, West Virginia. Respondent further denied that he and his staff failed
to adequately communicate with Complainant.

Complainant filed additional correspondence and reiterated her original
complaints. She further stated that Respondent failed to forward communications from
the opposing counsel regarding property taxes on her mother’s real property, causing the
same to be solid at auction.

Respondent subsequently forwarded an order entered in the Circuit Court of
McDowell County awarding his office an attorney’s lien against Complainant in the
amount of $6,930.86.

REASON CLOSED

Rule 1.5(b) of the Rules of Professional Conduct states:

The scope of the representation and the basis of rate of the fee and expenses
for which the client will be responsible shall be communicated to the
client in writing before or within a reasonable time after the commencing
the representation, except when the lawyer will charge a regularly
represented client on the same basis or rate. Any changes in the basis or rate
of the fee or expenses shall also be communicated to the client in writing.
[emphasis added]

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Respondent’s assertion that reducing his fee to writing is not mandated pursuant to
Rule 1.5(b) is inaccurate and he is hereby admonished for his violation of the same.
Respondent is directed to change his practice to comply with the Rules.

With regard to the remaining allegations, evidence must be clear and convincing
to establish a violation of the Rules of Professional Conduct. The evidence regarding the
remaining allegations is insufficient to establish a violation. Complainant is clearly
dissatisfied with Respondent’s representation. However, that dissatisfaction alone does
not equate an ethical violation. Accordingly, this matter is closed.

* * *

Pursuant to Rule 2.9(c) of the Rules of Lawyer Disciplinary Procedure,
Respondent has fourteen days after receipt of this closing to object to the issuance of the
admonishment. This written admonishment shall be available to the public, but shall not
be reported to any other jurisdiction in which the respondent is licensed to practice law.
Upon the filing of a timely objection, the Investigative Panel shall file a formal charge
with the Clerk of the Supreme Court of Appeals.

ADMONISHMENT ISSUED and CLOSING ORDERED on the 11" day of

June, 2022, and ENTERED this _(S'>day of June, 2022.

er Disciplinary Board

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